 

   
    

John J. Hurry, et al.

 

l s E P 2 9 2016
Plaintiff(s)/Petitioner(s), CASE NO, 14-cv-o2490-PHX-'}O§Ll:aa ue esa tract count
vs_ ‘ maer oe aaran
Financial |ndustry Regulatory Authorlty, Application of Attorney For Ad1 l _ 1 UEPUW
|nC-, et 3| Vice Pursuant to LRCiv 83.1(b)(2)

Defendant(s)/Respondent(s)
NOTICE: $35.00 APPLICATION FEE REQUIRED!

 

l, Ryan J' Stonerock , hereby apply to the Couit under LRCiv 83.l(b)(2) for pro hac vice

Plaintitfs

 

admission to appear and practice in this action on behalf of

City and State of Principal Residence: LOS Angeles’ Cahfom[a

Harder l\/lirell & Abrams LLP
132 S Rodeo Drlve, Fourth F|oor Suite:

 

Firm Name:

 

Address:
City: Beverly l-lills State:: CA Zip: 90212_

(424 ) 203-1600

 

 

Firnl/Business Phone:

 

FirmFaX Phone: (424 ) 203-1601 E_mail Addl.ess: rstonerock@hmatirm.com

 

 

l am admitted to practice before the following courts (attach additional sheets if necessaiy)

 

 

TITLE OF COURT DATE OF ADMISSION IN GOOD STANDING?
central District of cA 12/13/2006 -Yes § NO>~'<
9th Circult Court of Appeal 07/05/2011 .Yes No*
Superior Court of Californla 12/05/2006 -Yes § No*

 

* Explain: See attached
(An Original Certificate of Good Standing fromaFEDERAL BAR in which an applicant has been admitted dated no more than 45 days
prior to submission of this application is required.)

l have concun'ently, or Within 1 year of this application, made pro hac vice applications to this Court in the following actions (attach
additional sheets if necessaiy):

Case Number Title of Action Date Granted or Denied*

 

 

 

* Explain:
ALL APPLICANTS ARE REQUIRED TO ANSWER THE FOLLOVVING QUESTIONS.
]fyon answer YES to either of the following questions please explain all circumstances on a separate age. __

Are you currently the subject of a disciplinary investigation or proceeding by any Bar or Court? ` Yes No

Have you ever been disbarred from practice in any Court‘? E Yes No
I declare under penalty of perjury that the foregoing is trueand correct; that I am not a resident of, nor anI regularly enlployed, engaged in business,` professional
or other activities in the State of Arimna; and that I am not currently suspended, disbarred or subject to disciplinary proceedings in ally court. I certify that I
have read and will ascribe to the Standards for Professional Conduct, will comply with the Rules of Practice of the United States District Court for the
District of Arizona (“Local Rubs”), and will subscribe to receive court notices as required by LRCiv 83.1(c).

7%’/`,6 /42
Date / / / SignMApplicant

Fee Receipt #

 

(Rev. 04/l2)

 

 

Case 2:14-cv-O2490-ROS Document 125 Filed 09/29/16 Page 2 of 2

 

 

United States District Court

Central District of California

CERTIFICATE OF
GOOD STANDING

 

1, KIRY K. GRAY, Clerk of this Court, certify that

Ryan ]. Stonerocl< , Bar No. 247132

 

 

Was duly admitted to practice in this Court on D€C€mb€r 13th 2006

 

DA TE

and is active and in good standing as a member of the Bar

of this Court.

Dated at Los Angeles, California

on September 27th, 2016

Date

 

KIRY K. GRAY
Clerl< of Court

Andrea Kannil<e , Deputy Clerl<

 

 

G-52 (10/15) CERTIFICATE OF GOOD STANDING

